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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 UNITED STATES OF AMERICA,

                       Plaintiff,

 v.                                                  Criminal Action No. 5:11CR26-01

 TAOWEI YU,

                       Defendant.

         REPORT AND RECOMMENDATION THAT MOTIONS TO SUPPRESS
                         BE DENIED AS MOOT

        At the scheduled motions hearing on September 29, 2011, counsel for defendant advised

 defendant had signed a plea agreement and orally moved to withdraw defendant’s Motion to

 Suppress Search (Doc. No. 21) and Motion to Suppress Statements (Doc. No. 22).

        Both motions are now moot.

        Therefore, it is recommended both motions be DENIED.

        IT IS SO ORDERED.

        The Clerk of the Court is directed to provide a copy of this Order to parties who appear

 pro se and all counsel of record, as applicable, as provided in the Administrative Procedures for

 Electronic Case Filing in the United States District Court for the Northern District of West

 Virginia.

        DATED: September 29, 2011

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                                             JAMES E. SEIBERT
                                             UNITED STATES MAGISTRATE JUDGE
